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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:07CR47
                                             )
       Plaintiff,                            )
                                             )                  ORDER
              vs.                            )
                                             )
YOLANDA DEZERRA LOUIS,                       )
                                             )
       Defendant.                            )


       With the agreement of the Probation Officer,

       IT IS ORDERED that the requirement that the Defendant pay “subsistence” to CH,

Inc. Is waived.

       DATED this 7th day of August, 2015.


                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        Chief United States District Judge
